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A0245B           (Rev. 09111) Judgment in a Criminal Case
vi,              Sheet I



                                             UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA
                                                                             )
                 lJNITED STATES OF AMERICA                                   )        JUDG MENT IN A CRIMINAL CASE
                                     v.                                                (WO)
                                                                             )
                                                                             )
                 LACRISHA VICTORIA MOPPINS                                            Case Number: 2:14-CR-21-LSC-CSC (002)
                                                                             )
                                                                             )        USM Number: 15318002
                                                                             )
                                                                             )        .T~rrie ScoU~gs
                                                                                      Defendant's Attorney
THE DEFENDANT:
li'pleaded guilty to eount(s)             2 of the Indictment on 7/8/2014
o pleaded nolo eontendere to count(s)
      which was aecepted by the court.
o was found guilty on count(s)
      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                        Offense Ended              Count

 18 USC § 1029(a)(1) and 2            Access Device Fraud; Aid and Abet                                        10/10/2013                 2




      See additional count(s) on page 2


      The defendant is sentenced as provided in pages d. through 6                 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
[] The defendant has been found not guilty on count(s)

ItCount(s) 1, 3, and 4 of the Indictment                      0 is          dismissed on the motion of the United States.

         It is ordered that the defendant nust notify the United States attorney fOf this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution; costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notify the eourt and Untted States attorney of material ehanges in economic circumstances.

                                                                            February 6,2015
                                                                                                                     - - - - - - - -...        --~




                                                                            Date of Imposition of Judgment




                                                                        . . L. Scott Coogler, Urlit~d States Distrtict Judge
                                                                            Name of Judge                               Title of Judge



                                                                        -<6l f'?J 101016'
                                                                            Date
                   Case 2:14-cr-00021-ECM-SRW Document 75 Filed 02/13/15 Page 2 of 6

A0245B     (Rev. 09111) Judgment in a Criminal Case
vI,'       Sheet lA

                                                                                     Judgment Page: 20f6
  DEFENDANT: LACRISHA VICTORIA MOPPINS
  CASE NUMBER: 2:14-CR-21-LSC-CSC (002)

                                          ADDITIONAL COUNTS OF CONVICTION

 Title & Section               Nature of Offense                     Offense Ended
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AO 2458            (Rev. 09111) Judgment in a Criminal Case
vi "              Sheet 4-Probation

                                                                                                                         Judgment Page: 3 of6
  DEFENDANT: LACRISHA VICTORIA MOPPINS
  CASE NUMBER: 2:14-CR-21-LSC-CSC (002)
                                                                    PROBATION

 The defendant is hereby sentenced to probation for a term of:

   60 months as to Count 2




 The defendant shall not commit another federal, state or local crime.
 The defendant shalt not unlawfully possess a controlled substance. The defedant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
 o          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, ifappltcable)
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. ifapplicable)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifapplicable.)

 o          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
            as directed by the probatIon officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable)
 o          The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable)
        If this judgment imposes a fine or restitution, it is a conditon of probation that thedefendant pay in accordance with the Sdledule of
 Payments sheet of this judgment.
           The defendant nust comply with the standard conditions that have been adopted bythis court as well as with any additional conditions
 on the attached page.

                                              ST ANDARD CONDITIONS OF SUPERVISION
       I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probatIOn officer;
  10)        the defendant shall Rermit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
             contraband observed in plain view of the probation officer;
  11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcetrent officer;
  12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency withou t the
             permission of the court; and
  13)        as directed by the probation officer, the defendant shall noti~ third parties ofrisks that may be occasioned by the defendlnt's criminal
             record or ~ersonal history or characteristics and shall permit th e probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.all refrain from
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AO 2458     (Rev. 09111) Judgment in a Criminal Case
vt,         Sheet 4A     Probation


 DEFENDANT: LACRISHA VICTORIA MOPPINS                                                                   Judgment Page: 4 of6
 CASE NUMBER: 2: 14-CR-21-LSC-CSC (002)

                                               ADDITIONAL PROBATION TERMS
  1. The defendant shall serve 6 months home detention, which may include voice recognition and electronic monitoring,
     under the administrative supervision of the probation officer- The defendant shall pay the cost of monitoring unless the
     probation officer determines that the defendant does not have the ability to do so.

  2. The defendant shall provide the probation officer any requested financial information.

  3. The defendant shall not obtain new credit without approval of the probation officer unless in compliance with the
     payment schedule.

  4. The defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this
     court.
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AO 245B        (Rev. 09111) Judgment in a Criminal Case
vi .'           Sheet 5 -   Criminal Monetary Penalties

                                                                                                                           Judgment Page: 5 of6
  DEFENDANT: LACRISHA VICTORIA MOPPINS
  CASE NUMBER: 2:14-CR-21-LSC-CSC (002)
                                                   CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,


                         Assessment                                                                              Restitution
  TOTALS              $ 100.00                                              $                                  $ 5,473.91


  o The determination of restitution is deferred until         - - - ....- - ­
                                                                                  . An Amended Judgment in a Criminal Case (AD 245C) will be entered
        after such determination.

  'it The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

  Name of Payee                                                          Total Loss*                Restitution Ordered    Priority or Percenta2e
   Best Buy Corporate Headquarters                                                                             $5,473.91
   Attn: Paula Wilson

   7601 Penn Avenue South

   Richfield, MN 55423




 TOTALS                                                                                     $0.00              $5,473.91


o       Restitution amount ordered pursuant to plea agreement $

'it The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All ofthe payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

o       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            the interest requirement is waived for the               fine        D restitution.
        o the interest requirement for the            o fine       D restitution is modified as follows:


* Findings for the total armunt oflosses are required under Chap:ers 109A, 110, I lOA, and II3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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A0245B        (Rev. 09111) Judgment in a Criminal Case
vl           Sheet 6 -   Schedule of Payments

                                                                                                                          Judgment Page: 6of6
 DEFENDANT: LACRISHA VICTORIA MOPPINS
 CASE NUMBER: 2:14-CR-21-LSC-CSC (002)


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    M Lump sum payment of$ 5,573.91                           due immediately. balance due

                 not later than                                     , or
           r;t   in accordance                  C,   D D,      D      E,or     rsI F below; or
 B    [J Payment to begin immediately (may be combined with                    C,        D D,or          F below); or

 C          Payment in equal               (e.g, weekly, monthly, quarterly) installments of $                            over a period of
          __ ~___ (e.g, months or years), to commence                       (e.g, 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                          (e.g., weekly, monthly, quarterly) installments of S                         over a period of
                            (e.g, months or years), to commence                        (e.g, 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g, 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    r:i' Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711 , Montgomery. Alabama 3610 I.

            Any balance remaining at the start of supervision shall be paid at the rate of not less than $100.00 per month.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, flayrrent of crirrinal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financ ial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 rsI Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

      Defendant Lacrisha Victoria Moppins, Docket No. 2:14cr21-LSC (002); Total Amount: $5,473.91, Joint and Several
      Amount: $5,473.91; Payee: Best Buy Corporate Headquarters.
      Co-defendant Kendell Latrell Williams, Docket No. 2:14cr21-LSC (001); Total Amount $27,731.37, Joint and Several
      Amount: $5,473.91; Payee: Best Buy Corporate Headquarters.
D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
